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 SEARCH WARRANT (REV. 3/13)


                                                   UNITED STATES DISTRICT COURT
                                                           for the District of Arizona
 196 E. Walker Street, in Benson, Arizona, a
 ranch style single family residence containing tan                        No.        21-02912MB
 siding with white trim, with the numbers 196
 affixed just left of the front entrance door; and                                              SEARCH WARRANT
 Benjamin Rumbo, born in 1977, is a white male
 with green eyes, blonde hair, approximately
 5’09” tall.


TO:        Any authorized law enforcement officer

         Application and Affidavit having been made before me by a federal law enforcement officer, requesting the search
of the following ☒ person or ☒ premises known as (name, description and/or location):

           See Attachment, A-1, and A-2 attached and incorporated by reference herein

located in the District of Arizona is believed to conceal (identify the person or describe the property to be seized):

           See Attachment, B attached and incorporated by reference herein


        I find that the affidavit(s), and/or any recorded testimony, establish probable cause to search and seize the person
or property described.

           YOU ARE COMMANDED to execute this warrant on or before                            4/21/2021
                                                                                                            (not to exceed 14 days)

          ☐      in the daytime 6:00 a.m. to 10:00 p.m.                    X
                                                                           ☐     at any time after 5:00a.m. as I find reasonable
                                                                                 cause has been established.

       You must give a copy of the warrant and a receipt for the property taken to the person from whom, or from whose
premises, the property was taken, or leave the copy and receipt at the place where the property was taken.

        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to the United States Magistrate Judge who
authorized this warrant.

 Subscribed and Sworn to telephonically.

             4/7/2021                        3:45 PM
                              Date & Time Issued                                                   Judge’s signature
 Tucson, Arizona                                                            Leslie A. Bowman, United States Magistrate Judge
                                City and State                                                   Printed name and title

                                            Apr 07, 2021




                              Carrie Ryan
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SEARCH WARRANT RETURN (REV. 03/13)


                                                             RETURN
 Case No.:          21-02912MB

 DATE WARRANT                         DATE AND TIME                        COPY OF WARRANT AND RECEIPT FOR
 RECEIVED                             WARRANT EXECUTED                     ITEMS LEFT WITH




 INVENTORY MADE IN THE PRESENCE OF



 INVENTORY OF PERSON OR PROPERTY TAKEN PURSUANT TO THE WARRANT




                                                       NOT EXECUTED
            This Warrant was Not Executed.
             (check this box if the warrant was never executed and leave the sections above blank.)


                                                       CERTIFICATION

   I declare under penalty of perjury that this inventory is correct and was returned to the designated judge.


    Date:
                                                                           Executing Officer’s Signature



                                                                           Printed Name and Title
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4/7/2021
